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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NO. CV07-5325 AHM (JTLx)

Plaintiff, INITIAL ORDER FOLLOWING
FILING OF COMPLAINT ASSIGNED
Vv. TO JUDGE MATZ,
$355,000.00 IN U.S. CURRENCY,
Defendant.

)

COUNSEL FOR PLAINTIFF SHALL SERVE THIS ORDER ON ALL
DEFENDANTS AND/OR THEIR COUNSEL ALONG WITH THE SUMMONS
AND COMPLAINT, OR IF THAT JS NOT PRACTICABLE AS SOON AS
POSSIBLE THEREAFTER. IF THIS CASE WAS ASSIGNED TO THIS
COURT AFTER BEING REMOVED FROM STATE COURT, THE
DEFENDANT WHO REMOVED THE CASE SHALL SERVE THIS ORDER
ON ALL OTHER PARTIES.

This case has been assigned to the calendar of Judge A. Howard Matz.
Judge Matz is intent on assuring that, as called for in Fed.R.Civ. P. 1, this case will
proceed so as “to secure [a] just, speedy and inexpensive determination . . .”

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The parties are hereby informed of how they are expected to proceed.

 
 

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A. THE COURT’S ORDERS
Copies of Judge Matz’s orders that may have specific application to this
case are available on the Central District of California website. See J. T hose
orders include the following (this is not necessarily a complete list): ,
(1) Order Setting Rule 26(f) Scheduling Conference
(2) Scheduling and Case Management Order
(3) Order re Protective Orders and Treatment of Confidential
Information
(4) Orders (separate) re Civil Jury Trials and Court Trials
(5) Order re Settlement Conference
B. SERVICE OF PLEADINGS
Although Fed.R.Civ.P. 4(m) does not require the summons and complaint
to be served for as much as 120 days, the Court expects that they will be served
much sooner than that, and will require plaintiff to show cause before then if it
appears that there is undue delay.
C. ASSIGNMENT TO A MAGISTRATE JUDGE
Under 28 U.S.C. § 636, the parties may consent to have a Magistrate Judge
preside over all proceedings, including trial. The Magistrate Judges who accept
those designations are identified on the Central District’s website, which also
contains the consent form. See { J.
D. APPLICATIONS AND STIPULATIONS FOR EXTENSIONS
OF TIME
A. Applications or Stipulations to Extend the Time to File
any Required Document or to Continue any Pretrial or
Trial Date.
No stipulations extending scheduling requirements or modifying applicable
rules are effective until and unless the Court approves them. Both applications and

stipulations must set forth:

 

 
 

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1 1. the existing due date or hearing date;
2 2. specific, concrete reasons supporting good cause for granting the a
3 | extension. In this regard, a statement that an extension “will promote settlement” i

insufficient. The requesting party or parties must indicate the status of ongoing
5 || negotiations: have written proposals been exchanged? Is counsel in the process of

reviewing a draft settlement agreement? Has a mediator been selected?

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3. whether there have been prior requests for extensions, and whether these
8 | were granted or denied by the Court.
9 E. TRO’S AND INJUNCTIONS
10 Parties seeking emergency or provisional relief shall comply with F.R.Civ.P.
11 || 65 and Local Rule 65. The Court will not rule on any application for such relief
12] for at least 24 hours after the party subject to the requested order has been served;
13 || such party may file opposing or responding papers in the interim. The parties shall
14 || lodge a courtesy copy, conformed to reflect that it has been filed, of all papers
15 || relating to TROs and injunctions. The courtesy copy shall be placed in the drop
16 | box in the entrance way to chambers, to the left of Courtroom 14. All such papers
17 || shall be filed “loose” - - i.e., not inside envelopes.
18 F. CASES REMOVED FROM STATE COURT
19 All documents filed in state court, including documents appended to the
20 || complaint, answers and motions, must be refiled in this Court as a supplement to
21 || the Notice of Renewal, if not already included. See 28 U.S.C. § 1447(a)(b). If the
22 | defendant has not yet answered or moved, the answer or responsive pleading filed
23 || in this Court must comply with the Federal Rules of Civil Procedure and the Local
24 | Rules of the Central District. If before the case was removed a motion was
25 | pending in state court, it must be re-noticed in accordance with Local Rule 7.
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G. STATUS OF FICTITIOUSLY NAMED DEFENDANTS _

This Court intends to adhere to the following procedures where a matter is
removed to this Court on diversity grounds with fictitiously named defendants
referred to in the complaint. (See 28 U.S.C. f 1441 (a) and 1447.)

1.  Plaintiffis normally expected to ascertain the identity of and serve any

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fictitiously named defendants within 120 days of the removal of the action to this
Court.

2. ‘If plaintiff believes (by reason of the necessity for discovery or
otherwise) that fictitiously named defendants cannot be fully identified within the
120-day period, an ex parte application requesting permission to extend that
period to effectuate service may be filed with this Court. Such application shall
state the reasons therefor, and may be granted upon a showing of good cause.

The ex parte application shall be served upon all appearing parties, and shall state
that appearing parties may comment within seven (7) days of the filing of the ex
parte application.

3. If plaintiff desires to substitute a named defendant for one of the
fictitiously named parties, plaintiff first shall seek to obtain consent from counsel
for the previously-identified defendants (and counsel for the fictitiously named
party, if that party has separate counsel). If consent is withheld or denied, plaintiff
may apply ex parte requesting such amendment, with notice to all appearing
parties. Each party shall have seven calendar days to respond. The ex parte
application and any response should comment not only on the substitution of the
named party for a fictitiously named defendant, but on the question of whether the
matter should thereafter be remanded to the Superior Court if diversity of
citizenship is destroyed by the addition of the new substituted party. See U.S.C. §
1447(c)(d).

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H. BANKRUPTCY APPEALS

Counsel shal! comply with the ORDER RE PROCEDURE TO BE u)
FOLLOWED IN APPEAL FROM BANKRUPTCY COURT issued at the time
the appeal is filed in the District Court. The matter 1s considered submitted upon
the filing of the appellant’s reply brief. No oral argument is held unless otherwise
ordered by this Court.

I. MOTIONS UNDER FED.R.CIV.P, 12

Many motions to dismiss or to strike could be avoided if the parties confer
in good faith (as they are required to do under L.R. 7-3), especially for perceived
defects in a complaint, answer or counterclaim which could be corrected by
amendment. See Chang v. Chen, 80 F.3d 1293, 1296 (9th Cir. 1996) (where a
motion to dismiss is granted, a district court should provide leave to amend unless
it is clear that the complaint could not be saved by any amendment}. Moreover, a
party has the right to amend his complaint “once as a matter of course at any time
before a responsive pleading is served.” Fed.R.Civ.P. 15(a). A 12(b}(6) motion
is not a responsive pleading and therefore plaintiff might have a right to amend.
See Nolen vy. Fitzharris, 450 F.2d 958, 958-59 (9th Cir. 1971); St. Michael's
Convalescent Hospital v. California, 643 F.2d 1369, 1374 (9th Cir. 1981). And
even where a party has amended his Complaint once or a responsive pleading has
been served, the Federal Rules provide that leave to amend should be “freely given|
when justice so requires.” F.R.Civ.P. 15(a). The Ninth Circuit requires that this
policy favoring amendment be applied with “extreme liberality.” Morongo Band
of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).

These principles require that counsel for the plaintiff should carefully
evaluate the defendant’s contentions as to the deficiencies in the complaint and
that in many instances the moving party should agree to any amendment that would
cure a curable defect.
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In the unlikely event that motions under Fed.R.Civ.P. 12 challenging
pleadings are filed after the Rule 26(f) Scheduling Conference, the moving party
shall attach a copy of the challenged pleading to the Memorandum of Points and
Authorities in support of the motion. A

The foregoing provisions apply as well to motions to dismiss a
counterclaim, answer or affirmative defense, which a plaintiff might contemplate
bringing.

J. COURTESY COPIES AND COMPUTER DISKS

Courtesy copies should be provided to chambers when: (1) reply papers
are filed early — e.g., on the Friday before the deadline set out in L.R. 7-10; or (2)
emergency circumstances make them essential — e.g., for TROs, ex parte
applications or papers filed during trial or within two days of a scheduled hearing,
pre-trial conference or trial. When the Court requires that a computer disk be
submitted (e.g., with summary judgment papers or proposed jury instructions),
that disk should be left in a labeled envelope in the courtesy box.

Counsel should avoid leaving extra copies of voluminous documents with
chambers when they are not necessary to comply with this paragraph.

K. WEBSITE

Copies of this Order and other orders of this Court are available on the
Central District of California’s website, at “www.cacd.uscourts.gov,” under
“Judge’s Requirements.”

The Court thanks counsel and the parties for their anticipated cooperation.

IT IS SO ORDERED.
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Dated: August 20, 2007

A. HOWARD MATZ
United States District Judge

 

 
